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                                                              SEALED BY ORJ Et~.                                               E-FILED
i\0 91 (Rev C&/39) C'T1111innl Comp:ainl                         OF COURT
                                        UNITED STATES DISTRICT COURT
                                                                     for Lhe
                                                        . or.hcrn District of California

                   United States of America
                                  V.
        YEVGENIY ALEKSANDROVICH NIKULIN,                                       Case No.

                                                                                           UNDER SEAL

                             Def eur.nm{:!)
                                                                                           6
                                                         CRIMiNAL C0)1J>LAINT

           I, the complainant in this case, state that the fol lowing is true to the best of m)o" knowledge and belief.
On or about     tnc datc(s) of             March 3, 2012-March 4 , 2012        in the county   of            Santa Clara           in the

      Northern           District of             California        • the defendant(s) violated:

             Code Section                                                         Off ense Dr:scriplion
 18 U.S.C . § 1030(a)(2)(C) and (c)(2)(B)(i)                      Obtaining Information from a Protected Computer.



Maximum penalties
Maximum Imprisonment: 5 years
Maximum Fine: S250,000
Maximum Supervise Re'ease: 3 years
Special Assessment: $100

          This criminal complaint is based on these facts:
See att ached affidavit of JeffreyS. Miller




                                                                                           JeffreyS. M iller, Special Agent. FBI
                                                                                                    Prill lad nnme and litic

Sworn ro before me and signed in my              p~esence.



Date:      IC( 3/            ?v ( 6
                                                                                                      Judge 's Slf!. IIG/Urf

City and state:                         San Jose, California                     NATHANAEL M. COUSINS, U.S. Magistrate Judge
                                                                                            f'rinred IKJ/1! 1! and IIIia




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